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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

 

SPIN MASTER, LTD., JUSTIN HEIMBERG and CASE NUMBER:
DAVID GOMBERG, CV-06-3459-ABC(JTLx)Consolidated with
PLAINTIFF(S) | CV-07-0571-ABC(JTLx)
v.
ZOBMONDO ENERTAINMENT, LLC and
RANDALL HORN, NOTICE OF MANUAL FILING
DEFENDANT(S).
PLEASE TAKE NOTICE:

The above-mentioned cause of action has been designated as an electronically filed case. In accordance
with General Order 10-07 or any successor General Order and Local Rule 5-4, the following document(s) or

item(s) will be manually filed. List Documents:

SEE LIST OF DOCUMENTS ATTACHED

Document Description:
[] Administrative Record
[] Exhibits

[] Ex Parte Application for authorization of investigative, expert or other services pursuant to the
Criminal Justice Act [see Local Civil Rule 79-5.4, Documents to be excluded, (h)]

 

 

 

 

Xx] Other
Reason:
><] —_ Under Seal
[] Items not conducive to e-filing (i.e., videotapes, CDROM, large graphic charts)
[ | Electronic versions are not available to filer
[| Per Court order dated
[-] Manual Filing required ( reason ):
January 30, 2012 /s/ Kelly W. Craven
Date Attorney Name
Spin Master, Ltd., Justin Heimberg and David Gomberg
Party Represented

Note: File one Notice in each case, each time you manually file document(s).

 

G-92 (12/11) NOTICE OF MANUAL FILING

 
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ATTACHMENT TO FORM G-92 — NOTICE OF MANUAL FILING

Documents to be manually filed 1/30/12:

I.

10.

11.

Ex Parte Application for Order Allowing Plaintiffs to File Documents Under
Seal;

[Proposed] Order Granting Ex Parte Application to File Documents Under
Seal;

Plaintiffs’ Opposition to Defendants’ Motion for Summary Adjudication As
to Plaintiffs’ Claims For Disgorgement and Punitive Damages;

Plaintiffs’ Opposition to Defendants’ Motion for Summary Adjudication As
to Plaintiffs’ Claim for Lost Profits Damages;

Plaintiffs’ Objection to Defendants’ Evidence and Request for Denial or
Continuance of Summary Judgment Under FRCP 56(D);

Confidential Declaration of Peter Kristoffy in Support of Plaintiffs’
Opposition to Defendants’ Motion for Summary Adjudication as to
Plaintiffs’ Claim for Lost Profits Damages;

Confidential Declaration of Kristian Fleming in Support of Plaintiffs’
Opposition to Defendants’ Motions for Summary Adjudication;

Confidential Declaration of Ben Davidson in Support of Plaintiffs’
Objection to Defendants’ Evidence and Request for Denial or Continuance
of Summary Judgment under FRCP 56(D);

Confidential Declaration of Ben M. Davidson in Support of Plaintiffs’
Opposition to Defendants’ Motion for Summary Adjudication as to
Plaintiffs’ Claim for Lost Profits Damages;

Confidential Declaration of Kelly W. Craven in Support of Plaintiffs’
Oppositions to Defendants’ Motions for Summary Adjudication;

Plaintiffs’ Statement of Genuine Issues of Material Fact in Response to
Defendants’ Separate Statement of Undisputed Facts in Support of

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Defendants’ Motion for Summary Adjudication as to Plaintiffs’ Claim for
Disgorgement of Defendants’ Profits;

12. Plaintiffs’ Statement of Genuine Issues of Material Fact in Response to
Defendants’ Separate Statement of Undisputed Facts in Support of

Defendants’ Motion for Summary Adjudication as to Plaintiffs’ Claim for
Lost Profits Damages;

13. Plaintiffs’ Additional Evidentiary Objections to Declarations Filed by
Defendants; and

14. Proof of Service.

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